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9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. 2:12-CR-00250 TLN
                      Plaintiff,        )
12                                      ) STIPULATION REGARDING
                                        ) EXCLUDABLE TIME PERIODS
13
           v.                           ) UNDER SPEEDY TRIAL ACT;
14                                      ) FINDINGS AND ORDER
                                        )
15
     KRISTIN M CALDWELL                 )
16   XAVIER L. JOHNSON                  )
     WILLIAM L. BROWN                   )
17                                      ) Date: 1-16-2014
18                    Defendants.       ) Time: 9:30 a.m.
     _______________________________ ) Judge: Hon. Troy L. Nunley
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20                                        STIPULATION
21         Plaintiff United States of America, by and through its counsel of record, and
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     defendants by and through their counsels of record, hereby stipulate as follows:
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           1.       By previous order, this matter was set for status on December 5, 2013.

25         2.       By this stipulation, defendants Kristin Caldwell, Xavier Johnson and
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     William Brown now move to continue the status conference until January 16, 2014 and to
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     exclude time between December 5, 2013 and January 16, 2014 under Local Code T4.
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1    Plaintiff does not oppose this request.
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            3.       The parties agree and stipulate, and request that the Court find the
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     following:
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5           a.       The government has represented that the discovery associated with this case
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     includes approximately 325 pages of discovery. All of this discovery has been either
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     produced directly to counsel and/or made available for inspection and copying.
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9           b.       Counsels for the defendants desire additional time to consult with their

10   clients, to review the current charges, to finish the investigation and research related to
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     the charges, and to discuss potential resolutions with their clients.
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            c.       Counsels for the defendants believe that failure to grant the above-
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14   requested continuance would deny them the reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence.
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            d.       The government does not object to the continuance.
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18          e.       Based on the above-stated findings, the ends of justice served by continuing
19   the case as requested outweigh the interest of the public and the defendant in a trial
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     within the original date prescribed by the Speedy Trial Act.
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22
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

23   3161, et seq., within which trial must commence, the time period of December 5, 2013 to
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     January 16, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
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     B(iv) [Local Code T4] because it results from a continuance granted by the Court at
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27   defendants’ request on the basis of the Court's finding that the ends of justice served by
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     taking such action outweigh the best interest of the public and the defendants in a speedy


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1    trial.
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              4.       Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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5    from the period within which a trial must commence.
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     IT IS SO STIPULATED.
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     Dated: November 26, 2013                    Respectfully submitted,
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9
                                                 /s/ Kelly Babineau
10                                               KELLY BABINEAU
11
                                                 Attorney for Kristin Caldwell

12
     Dated: November 26, 2013                    /s/ Kyle Knapp
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                                                 Kelly Babineau for KYLE KNAPP
14                                               Attorney for XAVIER JOHNSON
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16   Dated: November 26, 2013                    /s/ William DuBois
                                                 Kelly Babineau for WILLIAM DuBois
17
                                                 Attorney for WILLIAM L. BROWN
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19   Dated: November 26, 2013                    /s/ Matthew Morris
20                                               Kelly Babineau for:
                                                 MATTHEW MORRIS
21                                               Assistant U.S. Attorney
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1
                                ORDER
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     IT IS SO FOUND AND ORDERED this 2nd day of December, 2013.
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                                         Troy L. Nunley
9                                        United States District Judge

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